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 8                               UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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11   JUSTIN FREDERICKSEN, et al.,             )   Case No.   CV-19-2186-R
                                              )
12                                            )   ORDER OF DISMISSAL
                                 Plaintiff,   )
13                                            )
           v.                                 )
14                                            )
     FORD MOTOR COMPANY, et al,               )
15                                            )
                                              )
16                             Defendant,     )
                                              )
17   ____________________________             )
18         THE COURT having been advised by the counsel for the parties that the above-
19 entitled action has been settled;
20        IT IS THEREFORE ORDERED that this action is hereby dismissed without costs
21 and without prejudice to the right, upon good cause shown within 120 days, to reopen the
22 action if the settlement is not consummated. IT IS FURTHER ORDERED that all dates set
23 in this action are hereby vacated. The Court reserves its jurisdiction for the purpose of
24 enforcing the settlement.
25
26 Dated May 15, 2019
27
                                                       MANUEL L. REAL
28                                                United States District Judge
